Case 8:16-cv-00266-SDM-TGW Document 30 Filed 11/09/16 Page 1 of 2 PageID 163




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

LEN GALE,

       Plaintiff,

vs.                                                  Case No.: 8:16-cv-00266-SDM-TGW

CITIMORTGAGE, INC.,

      Defendant.
______________________________________/

                         DEFENDANT’S RESPONSE TO MOTION
                           TO REMAND TO CIRCUIT COURT

       Defendant, CitiMortgage, Inc. (“Defendant” or “CMI”), through its counsel and pursuant

to Local Rule 3.01(b), files this its Response to Plaintiff, Len Gale’s (“Plaintiff” or “Gale”),

Motion to Remand to Circuit Court (D.E. 29) and states:

       1.      Plaintiff’s current Motion to Remand to Circuit Court (D.E. 29) was filed on

November 8, 2016. CMI is unclear why Plaintiff filed the current Motion to Remand to Circuit

Court since this issue has been fully briefed and decided.

       2.      In particular, Plaintiff on May 31, 2016 filed a substantially similar Motion to

Remand to Circuit Court (D.E. 24) to which CMI responded thereto on June 13, 2016 with a

Memorandum of Law in Opposition to the Motion to Remand to Circuit Court (D.E. 26).

Thereafter, the Court on August 2, 2016 entered an Order on Plaintiff’s May 31, 2016 Motion to

Remand to Circuit Court granting the same and remanding this case back to the Circuit Court for

Manatee County, Florida and closing this case (D.E. 28).

       3.      As a result, CMI will consider that Plaintiff’s current Motion to Remand to

Circuit Court (D.E. 29) was filed by mistake and that no substantive response is required by




44252745_1
Case 8:16-cv-00266-SDM-TGW Document 30 Filed 11/09/16 Page 2 of 2 PageID 164




CMI.1 To the extent that a substantive response is required, CMI will repeat, reallege, and

reassert all of the points in its June 13, 2015 Memorandum of Law in Opposition to the Motion

to Remand to Circuit Court (D.E. 26) as if fully set forth herein.

        WHEREFORE, Defendant, CitiMortgage, Inc., files this its Response to Plaintiff, Len

Gale’s, Motion to Remand to Circuit Court (D.E. 29), and requests that the Court grant, if

necessary, any relief this Court deems necessary, just and proper.


                                                    /s/ Kenneth M. Curtin
                                                    Kenneth M. Curtin, Esq.
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                                                    101 E. Kennedy Blvd., Suite 4000
                                                    Tampa, Florida 33602
                                                    (813) 402-2880 (Telephone)
                                                    (813) 402-2887 (Facsimile)
                                                    Attorneys for Defendant CitiMortgage, Inc.

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 9th day of November, 2016, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF electronic notification system, which

will send a notice of electronic filing to all parties of record.



                                                    /s/ Kenneth M. Curtin
                                                    Kenneth M. Curtin, Esq.




1
  CMI had considered filing no response at all to the current Motion to Remand to Circuit Court, but in an
abundance of caution decided to file this Response informing the Court of the procedural posture and prior outcome
of the substantially similar Motion to Remand to Circuit Court filed by Plaintiff on May 31, 2016.


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